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               EXHIBIT A
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   Attorneys for Plaintiff
 8 RENEE LEPAGE

 9                               UNITED STATES DISTRICT COURT

10              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

11

12 RENEE LEPAGE, an individual,                   Case No. 3:17-cv-00600-LB

13                 Plaintiff,                     PLAINTIFF’S PROPOSED VERDICT
                                                  FORM
14        vs.

15 COUNTY OF NAPA; COUNTY OF NAPA
   SHERIFF’S DEPARTMENT; AND DEPUTY
16 TIMOTHY REID,

17                 Defendants.

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                                                                       Case No. 3:17-cv-00600-LB
                                 PLAINTIFF’S PROPOSED VERDICT FORM
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 1 Claim of Excessive Force (42 U.S.C. § 1983 and Fourth Amendment)

 2 1.        Did defendant Timothy Reid use excessive force against the plaintiff Renee LePage in
             violation of the Fourth Amendment to the U.S. Constitution?
 3
             Yes: ____________                     No: ____________
 4
             Proceed to Question 2.
 5
     Claim of Violation of Civil Rights (Cal. Civ. Code § 52.1, known as the Bane Act)
 6
     2.      Did defendant Reid interfere with or attempt to interfere with the plaintiff’s enjoyment of
 7           her right to be free from unreasonable seizure in violation of the Bane Act?

 8           Yes: ____________                     No: ____________

 9           Proceed to Question 3.

10 Battery Claim

11 3.        Did defendant Reid commit a battery against the plaintiff?
12           Yes: ____________                     No: ____________
13           Proceed to Question 4.
14 Claim of Negligence

15 4.        Was defendant Reid negligent?
16           Yes: ____________                     No: ____________
17           Proceed to Question 5.
18 Damages

19 5.        Did you answer yes to at least one of the following questions: 1, 2, 3, or 4?

20           Yes: ____________                     No: ____________

21           If your answer is No, you have reached a verdict, and you must stop here, and have the
             presiding juror sign and date this form. If your answer is Yes, then proceed to Question 6.
22
     6.      If you answered Yes to question 1, 2, 3, and/or 4, what amount of damages do you award
23           to the plaintiff?

24           $ _____________________

25           Proceed to Question 7.

26 7.        If you answered Yes to question 1 or 2, was Reid’s conduct malicious, oppressive or
             committed in reckless disregard of the plaintiff’s rights?
27
             Yes: ____________                     No: ____________
28

                                                      -2-                         Case No. 3:17-cv-00600-LB
                                   PLAINTIFF’S PROPOSED VERDICT FORM
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 1           If your answer is No, you have reached a verdict, and you must stop here, and have the
             presiding juror sign and date this form. If your answer is Yes, then proceed to Question 8.
 2
     8.      If you answered Yes to question 7, what amount of punitive damages do you award to the
 3           plaintiff?

 4           $ _____________________

 5

 6 Please have the presiding juror sign and date the form.

 7

 8 Signed: _______________________________________ (Presiding Juror)

 9 Dated: ________________________________________

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                                   PLAINTIFF’S PROPOSED VERDICT FORM
